Case 8:20-cv-03290-PJM Document 9-24 Filed 11/16/20 Page 1 of 37

Exhibit 1
O5411/2020 {AS BROS CR Mdgaln: Document 9-24 Filed 11/1048 Fag 2 Of 37 p noaruar

SECOND AMENDED AND RESTATED STOCKHOLDERS AGREEMENT

THIS SECOND AMENDED AND RESTATED STOCKHOLDERS AGREEMENT (this
“Agreement’) is made and entered into ag of the 31st day of March, 2005, by and among Washington
Football, Inc., a Maryland corporation (the “Company”), Daniel M. Snyder, Arlette Snyder, Michele
D. Snyder and each of the other parties set forth on the signature pages hereto under the heading
“Stockholders”. The individuals listed in the prior sentence together with their respective Permitted
Transferees (as defined herein) and any Additional Stockholders (as defined herein), are referred to
herein collectively as the “Stockholders” and individually as a “S{ockholder”.

 

NOW, THEREFORE, in consideration of the premises and of the mutual covenants and
agreements herein contained, the parties incorporate the above Recitals herein as if filly set forth

herein and agree as follows:
1, COMPANY STOCK: CERTAIN DEFINITIONS,
(a)
iC 388, 8:20 cv-03220-FoaMt Document 9-24 Filed 11/46/29 2Rage 3 of 37 ro uuse use

O5/ 114 2020

 

. oe
| —
| Se

(¢) Subject to Section 5(c), the Voting Stock shall always be held by only one individual
who is referred to herein as the “Voting Stockholder.” The Stockholders who hold
Non-Voting Stock (including any Additional Stockholders who hold Non-Voting
Stock) are referred to herein collectively ag the “Non-Voting Stockholders.” Prior to
the date hereof, Daniel M. Snyder was issued shares of Voting Stook and the other
Stockholders were issued shares of Non-Voting Stock. The Stockholders
acknowledge that (i) the right to be the Voting Stockholder shall be a personal right
of the individual who from time to time holds the Voting Stock pursuant to the
provisions of this Agreement, (ii) Daniel M. Snyder was issued Voting Stock and will
serve as the Company’s Voting Stockholder based upon (A) his management skills,
(B) his long-standing association with the other Founding Stockholders, (C) his
financial capability to provide significant additional funds to the Company and (D)
the fact that Daniel M. Snyder's Percentage Ownership Interest significantly exceeds
that of each of the other Stockholders, and (iii) it is not the intent of the Stockholders
that the Voting Stock be assignable other then in strict accordance with the terms of
this Agreement.

@

 
osvrizzc20  1F FSB Bek GPM S Rabel, Document 9-24 Filed 11/daRO: zawe 4 Of 37 p uoseuss

 

2.
ye
. =
| os
| SR SSeS RH Die ee CR

on
Se
eee

   

° ae i EER carers |
Case 8 Q-cv- 03290-P4 PJM, Document 9-24 Filed 11/46/20; zRage@ 5 Of 37 ua vos

O8/ 11/2020 14; 2661 Be iamon anagement

(C)

 

(iii)

(iv)

(b)

(c)

 
asrav2o2 | Wee Be OF FPO RIM, Document 9-24 Filed 11/46/20, .PaGe 6 OF 87 ~ Worcs

 

(i)

. =e
Case 8:20-Cv-03 420. FeM Document 9-24 Filed 11/46/20 2Page 7 Of 37 +. uurruse

an

08/114 2020 1 Black

 
asriy2020 1,8 81 See FOV OF 420sR ML, Document 9-24 Filed 11/49/20; 2Ra@@ 8 OF 37 » uo vse

 

<> aon,
mame
See

(b)

 
F588 852% 034205 Fed Document 9-24 Filed 11/46/20; 2Rage 9 Of 37 & uu use

05/114 2020

(c)

(d)

 

{e)

 
OS/ 114 2020 Case, 8:20;-cv 03290-FJM,,,Document 9-24 Filed 11/16/20; Page, 10 of 37 eu Use

 
Case 8:20-cv-03290-PJM_ Document 9-24 Filed 11/16/20,, Bagg,l1 of 37

O5°91/2020 14: 30Black Di Management POW Use

{c)

i)

(ii)

(iii)

(iv)

z
—
=>

$
osrrivzo20 S48 sR ACRS HEREIN, Pocument 9-24 Filed 11/16/20), Ba@Rel2 Of 87 = or2rv37

(d)

 

(e)

 

()

 

-Ll-
05/11/2020 Gage.8:2076V,03290-FaM,,~Document 9-24 Filed 11/ Teles PAGRel3 Of 376 orscuss

 
05/11/2020 Case, Bia Gy 08? 20: fyM,..Pocument 9-24 Filed 11/1 R203 Raggel4 Of 87 - uae use

 

(c)
(d)
7. VOLUNTARY SALE OF STOCK: RIGHTS OF FIRST REFUSAL.
(a) ‘Ifa Stockholder (2 “Selling Stockholder”) proposes to effect a Sale of any shares of

Stock (other than as permitted by Section 6(c)), then such Selling Stockholder shall
give to the Company a written notice (a “Notice of Intention to Sel]”) setting forth in
reasonable detail the terms and conditions of such proposed transaction, including the
identity of the proposed purchaser of such shares and enclosing any agreements, draft
agreements or letters of intent relating to such proposed Sale. The Company shall
deliver such Notice of Intention to Sell to the other Stockholders (the “Qther

Steckholderg”) promptly upon receipt thereof.

(b) ‘The following rights of first refusal shall apply with respect to a proposed Sale of
Non-Voting Stock by a Nan-Voting Stockholder other than (i) a Sale by a Snyder
Stockholder, which is governed by the provisions of paragraph (¢) below, and (ii) a
Sale permitted by Section 6(c)):

(i) Upon receipt of a Notice of Intention to Sell from the Company, each Other
Stockholder shall have the right, exercisable upon written notice to the
Selling Stockholder and the Company within fifteen (15) days after receipt by
the Other Stockholders of the Selling Stockholder’s Notice of Intention to
Sell, to elect to purchase all or part of the shares of Non-Voting Stock
proposed to be sold by the Selling Stockholder at a purchase price equal to
(and on other terms substantially comparable to) that specified in the Notice
of Intention to Sell. Such notice shall state the number of shares to be

-)3-
Case. 8:20-CVv

ners areueD 3-2 wCv-03290-PJM Document 9-24 Filed 11/46/29, Pages of 37. uasruse

agement

purchased by each Other Stockholder and that such Other Stockholder will
purchase such shares within forty-five (45) days after the date of receipt of
the Notice of Intention to Sell, or such longer period as may reasonably be
necessary to account for the rights to purchase in this paragraph (b) and
obtain any required approvals from the NFL or any regulatory authority,

(i) ‘In the event that more than one Other Stockholder wishes to exercise his right
to purchase the Non-Voting Stock proposed to be sold by the Selling
Stockholder (for purposes hereof, each a “Purchasing Stockholder”) and the
aggregate number of shares such Purchasing Stockholders wish to purchase
would exceed the number of shares offered by the Selling Stockholder in the
Notice of Intention to Sell, each Purchasing Stockholder may purchase the
lesser of (A) the number of shares specified in such Purchasing Stockholder’s
notice under clause (i) and (B) if such shares described in clause (A) exceed
the number of shares which is equal to the product obtained by multiplying
(1) the aggregate number of shares of Stock to be sold by the Selling
Stockholder by (2) a fraction, the numerator of which is the number of shares
of Stock at the time owned by the Purchasing Stockholder and the
denominator of which is the sum of the total number of shares of Stock at the
time owned by all of the Purchasing Stockholders (the “pro tata basis”), such
Purchasing Stockholder’s pro rata basis (as compared to all other Purchasing
Stockholders subject to this clause (B)) of the available shares,

(iii) ‘If all shares of Non-Voting Stock proposed to be sold by the Selling
Stockholder are not elected to be purchased by the Purchasing Stockholders
on a timely basis pursuant to clauses (i) and (ii), then the Selling Stockholder
must deliver a written notice to all Purchasing Stockholders giving the
Purchasing Stockholders the right to purchase, on a pro rata basis, any shares
not clected to be so purchased by the other Purchasing Stockholders. The '
tight granted pursuant to the foregoing sentence shall be exercised within ten
(10) days of receipt of the written notice,

(iv) If the Purchasing Stockholders elect to purchase all of the Non-Voting Stock
that is the subject of the Notice of Intention to Sell, the Selling Stockholder
shall honor their elections to purchase and consummate the sale or sales of
Stock on the terms set forth in the Notice of Intention to Sell on a single date
determined under clause (i), In the event that more than one Other
Stockholder has elected to purchase all of the Non-Voting Stock that is the
subject of the Notice of Intention to Sell and one or more of the Purchasing
Stockholders defaults on his or her obligation to purchase the shares that he
or she had elected to purchase, then the closing shall not be held as originally
scheduled and the Selling Stockholder shall deliver a written notice to all
non-defaulting Purchasing Stockholders giving the non-defaulting Purchasing
Stockholders the right to purchase, on a pro rata basis, the shares with respect
to which the defaulting Purchasing Stockholder had elected to purchase. The
right granted pursuant to the foregoing sentence shall be exercised within ten
(10) days of receipt of the written notice. If the non-defaulting Purchasing
Stockholders. elect to purchase all of the Non-Voting Stock the defaulting
Purchasing Stockholder had elected to purchase, a closing shall be re-
scheduled and the Selling Stockholder shali honor the non-defaulting

-14-
05/11/2020 Case, 8:40 GvO8e RO fe, Pocument 9-24 Filed 11/16/29; Ragas16 Of 372 ore-v37

Purchasing Stockholders’ elections to purchase and consummate the sale or
sales of Stock on the terms set forth in the Notice of Intention to Sell on a
single date determined under clause (i).

(v) If (A) the Other Stockholders do not elect to purchase all the Non-Voting
Stock that is the subject of the Notice of Intention to Self or (B) if they elect
to purchase all of the Non-Voting Stock, but such purchases are not all
consummated at the closing scheduled therefor (after giving effect to a single
exercise of the rights under clause (iv)), such elections will be void and the
Selling Stockholder may consummate the sale of all of the Non-Voting Stock
proposed to be sold to the proposed third party purchaser pursuant to the
terins set forth in the Notice of Intention to Sell. Any sale to a third party
purchaser that is not consummated within ninety (90) days after the
expiration of the fifteen (15) day period specified in clause (i) of this
paragraph (b) or which is not on the terms as set forth in the Notice of
Intention to Sell shall again be subject to the requirements of this paragraph
(b); provided that such ninety (90) day period shall be extended to the extent
required to obtain required NFL and regulatory approval so long as such
approvals are being diligently pursued,

(c)

 

~|5-
Cas
o5/17/2020 14:34

anagement

fac

a -20-Cv-03290-P Document 9-24 Filed 11/16/20; Pag@17 of 37- uieruse

 

Git)

(iv)

(v)

~16-
osrtiz020 GARE FAO GYsRAWRHaden Document 9-24 Filed 11/1@/aQisRaded8 Of 37 e o18ru3?

 

(ti)

 

-17-
05/11/2020 Case. 8.20-Cv.03290-FJM,,.,Pbocument 9-24 Filed 11/16(20)s Fageel9 Of 37p wrysus/

 

(iii)

(iv)

(v)

-18-
oseriv2020 $42 PO GORE AO EM, ~Pocument 9-24 Filed 11/16 (20,2 PagHe20 Of 37 2 o2uruss

(vi)

 

~19-
Case. 8:20-cv-03290-P JM. Document 9-24 Filed 11/16/20,5 Ragge21 Of 37» warusy

05/11/2020 14:37? Black Biamon anagement

(c)

(d)

(¢)

 

-20-
o5/ 11/2020 Case. 8:20-Cv-03790- PaM,.Document 9-24 Filed 11/16/2035 Page.22 Of 37- vee use

 

9.
a
| ee
| an samenorenans A Aiton eR psxcaseerss:

 

ye.
05/11/2020 G88 8:20-cv-03720-faM,~PDocument 9-24 Filed 11/1. 6/203 PAGRS23 of 37 ese Use

(b)

(c)

 

11, {INTENTIONALLY OMITTED]

| [aoe RR
(a)

 

«22
05/11/2020 Case. 8 3 20;Cv-032 gO-P ent Document 9-24 Filed 11/16/20; Paga@e24 Of 37. usar use

 

ii)

(iii)

 

(b)

 

(A)

~23.
O5/ 11/2020 Gass; BOG yaa? RO Sod Mt Document 9-24 Filed 11/1 6/203 Pagis25 Of 37+ was use

(B)

(1)

(2)

 

(iv)

 

“24.
:20-CV- - -24 Fi 20. Page.26 Of 37,.ueor vs.
05/11/2020 Case. 8.20-cv 03290 FJM,,Document 9-24 Filed 11/46/20; Page. ue

(c}

 

(d)

 

14. LEGEND ON STOCK CERTIFICATES.

Each certificate representing shares of Stock of the Company owned of record or beneficially
by any Stockholder shall conspicuously bear the following legends until such time as the shares
represented thereby are no longer subject to the provisions hereof:

(a) National Football League policy has limitations on the number and type of
i persons who may have ultimate direct, indirect, beneficial, contingent or other
lnterests in the Washington Redskins franchise (the “Franchise”) and prohibits

any direct or indirect sale, transfer, assignment, pledge, hypothecation,
encumbrance or other disposition of, or with respect to, the Franchise or any

-2§-
os/411¢2020 Case. 8.207-Cv-03290-FaM,,.20cument 9-24 Filed 11/16/4293 Page.27 Of 37+ uerruse

direct or indirect interest therein without the prior consent of the National
Football League, unless specifically exempted from such consent pursuant to the
Constitution and Bylaws of the National Football League. Please contact the
National Football League, League Counsel, 280 Park Avenue, New York, New
York 10017 to determine the applicable requirements,

(b) “THE SECURITIES REPRESENTED BY THIS CERTIFICATE ARE SUBJECT
TO THE TERMS AND CONDITIONS OF A SECOND AMENDED AND
RESTATED STOCKHOLDERS AGREEMENT, DATED AS OF MARCH 31,
2005, AMONG THE COMPANY AND THE OTHER PARTIES THERETO, A
COPY OF WHICH MAY BE OBTAINED AT NO COST BY WRITTEN
REQUEST MADE BY THE HOLDER OF RECORD OF THIS CERTIFICATE TO
THE COMPANY.”

(c) “THE SECURITIES REPRESENTED BY THIS CERTIFICATE HAVE BEEN
ACQUIRED FOR INVESTMENT AND HAVE NOT BEEN REGISTERED
UNDER THE SECURITIES ACT OF 1933 OR ANY APPLICABLE STATE
SECURITIES LAWS. SUCH SECURITIES MAY NOT BE SOLD OR
OTHERWISE TRANSFERRED IN THE ABSENCE OF SUCH REGISTRATION
UNLESS THE COMPANY RECEIVES AN OPINION OF COUNSEL

SATISFACTORY TO THE
ISSUER THAT SUCH REGISTRATION IS NOT REQUIRED BY SAID ACT OR
LAWS.”

(d) The Company covenants that it shall keep a copy of this Agreement on file at the
address listed in Section 20 for the purpose of furnishing copies to the parties hereto.

(e) The parties acknowledge and agree that the Stockholders may pledge shares of Stock
to secure private bank financing provided to the Stockholders, subject to the
limitations and restrictions imposed under NFL Rules.

14,.,_ _ REPRESENTATIONS AND WARRANTIES,

Each Stockholder, severally and not jointly, represents and warrants to the Company and the
other Stockholders as foliows:

(8) The execution, delivery and performance of this Agreement by such Stockholder will
not violate any provision of applicable law, any order of any court or other agency of
government, or any provision of any indenture, agreement or other instrument to
which such Stockholder or any of his properties or assets is bound, or conflict with,
result in a breach of or constitute (with due notice or lapse of time or both) a default
under any such indenture, agreement or other instrument,

(b) This Agreement has been duly executed and delivered by such Stockholder, and

when executed by the other parties hereto will constitute the legal, valid and binding
obligation of such Stockholder, enforceable in accordance with its terms.

15. HEADINGS.

-26-
05/11/2020

Case 8:20-cv-03290-PJM , Document 9-24 Filed 11/46/20, Page, 28 of 37. veoruss

14:;41Black Diamond Managemen

Headings of articles, sections and paragraphs of this Agreement are inserted for convenience
of reference only and shall not affect the interpretation or be deemed to constitute a part hereof.

6. VERABILITY.

In the event that any one or more of the provisions contained in this Agreement or in any
other instrument referred to herein shall, for any reason, be held to be invalid, illegal or
unenforceable, such illegality, invalidity or unenforceability shall not affect any other provisions of
this Agreement.

IT ITRATION; IFIC PERFOR

(a) Any Controversy or claim between or among the parties hereto including but not
limited to those arising out of or relating to this Agreement or sny related
instruments, agreements or documents, including any claim based on or arising from
an alleged tort, shall be determined by binding arbitration in accordance with the
Federal Arbitration Act, Title 9 of the United States Code (or if not applicable, the
applicable state law), the “Comprehensive Arbitration Rules and Procedures” (for
claims in excess of $250,000) of JAMS/Endispute or any successor thereof and the
“Special Rules” set forth in clauses (i) and (ii) below, In the event of any
inconsistency, the Special Rules shall control. The arbitrator of any controversy or
claim shall promptly, but in no event later than thirty (30) days of the conclusion of
the hearing, render the award or decision which shall become final and binding in
accordance with the terms thereof unless either or both parties seek reconsideration in
accordance with the JAMS/Endispute Comprehensive Arbitration Rules and
Procedures, Judgment upon any arbitration award or decision may be entered in any
court having jurisdiction over such action, Any party to this Agreement may bring an
action, including a summary or expedited proceeding, to compel arbitration of any

controversy or claim to which this Agreement applies in any court having jurisdiction
over such action,

(i) The arbitration shall be conducted in the Washington, D.C. metropolitan area,
and shall be administered by JAMS/Endispute who will appoint one arbitrator
selected from the panels of arbitrators of JAMS/Endispute, or as the case may
be, the Commercial Finance Disputes National Arbitration Panel of
arbitrators of the American Arbitration Association; if JAMS/Endispute is
unable or legally precluded from administering the arbitration, then the
American Arbitration Association will serve, provided, however, that the
American Arbitration Association will conduct the arbitration pursuant-to the
JAMS/Endispute Comprehensive Arbitration Rules and Procedures, All
arbitration hearings will be commenced within ninety (90) days of the
demand for arbitration; further, the arbitrator shall only, upon a showing of
cause, be permitted to extend the commencement of such hearing for up to an
additional sixty (60)days.

(ii) The Stockholders agree that Rule 32, the “Final Offer (or Baseball)”
Arbitration Option, of the JAMS/Endispute Comprehensive Arbitration Rules
and Procedures, or any successor provision thereto shall be applied as
provided in Section 10{a) of this Agreement,

27.
05/114 2020

Document 9-24 Filed 11/16/20, Bag@.29 Of 37. wesusy

(b) Nothing in this arbitration provision shall be deemed to (i) limit applicable statutes of
limitation; or (ii) limit the right of any of the parties hereto to obtain from a court
provisional or ancillary remedies such as (but not limited to) injunctive relief. Any of
the parties hereto may obtain such ancillary remedies before, during or after the
pendency of any arbitration proceeding brought pursuant to this Agreement, The
institution or maintenance of any action for provisional or ancillary remedies shall
not constitute a waiver of the right of any party, inchiding the claimant in any such
action, to arbitrate the merits of the controversy or claim occasioning resort to such
remedies, .

(c) The parties acknowledge that the remedy at law for breach of the provisions of this
Agreement will be inadequate and that, in addition to any other remedy any party
may have, it shall be entitled to an injunction restraining any breach or threatened
breach and/or a decree of specific performance, without any bond or other security
being required and without the necessity of proving actual damages.

18. EFITS GREE

Nothing in this Agreement is intended or shall be construed to give any person other than the
parties hereto and their respective successors and permitted assigns any legal or equitable right,
remedy or claim under or in respect of this Agreement or any provision herein contained, this
Agreement and all conditions and provisions hereof being intended to be and being for the sole and
exclusive benefit of the parties hereto and their respective successors and permitted assigns.
Notwithstanding anything in this Section to the contrary, subject to compliance with the terms of this
Agreement, each Stockholder shall have the right to assign its interests hereunder to any transferee of
the Stock of the Company held by such Stockholder in compliance with this Agreement; provided,
however, that (i) such transferee and his or her spouse shall execute a copy of the Addendum
Agreement, attached hereto as Exhibit B, agreeing in writing with the parties hereto to be bound by,
and to comply with, all applicable provisions of this Agreement and to be deemed to be a
Stockholder for purposes of this Agreement, and (ii) the rights of a Founding Stockholder shail be
personal to each individual Founding Stockholder and shall be exercisable only while such individual
is alive and not permanently disabled.

12 NOTICES.

Any notice or other communications required or permitted hereunder shall be sufficient and
received if contained in a written instrument delivered in person or by courier or duly sent by first
class certified mail, postage prepaid, or by facsimile addressed to such party at the address or
facsimile number set forth below:

(a) if to the Company, to it at:

Washington Football, Inc,

21300 Redskin Park Drive

Ashburn, VA 20147

Attention; Daniel M, Snyder, Chairman and Principal Owner
Facsimile: (703) 726-7124

~28.
O5/ 11/2020

Case_8:20-Cv-03290-PJM Document 9-24 Filed 11/16/20, Bage.30 Of 37. asurusy

Diamon anagemen

(b) = with a copy to:

Washington Football, Inc.
21300 Redskin Park. Drive
Ashbum, VA 20147
Attention: General Counsel
Facsimile: (703) 726-7206

or such other outside counsel as shall be appointed to represent to the Company from
time to time at such address as shall be provided to the Stockholders from time to
time

(c) if to any Stockholder, to the address and facsimile number of such Stockholder
appearing on the signature page of this Agreement;

(d) or, in any case, at such other address or facsimile number as shall have been
furnished in writing by such party to the other parties hereto. All such notices,
requests, consents and other communications shall be deemed to have been received
(i) in the case of personal or courier delivery, on the date of such delivery, (ii) in the
case of mailing, on the fifth business day following the date of such mailing and (iii)
in the case of facsimile, when received.

“Ss” TIO S.

Notwithstanding anything contained in this Agreement to the contrary, under no
circumstances shall a Stockholder effect a Sale of his Stock to any person or entity or take any other
action which has the effect of terminating the Company’s qualification to be treated as an “S”
corporation under the Code. Any such purported Sale or transaction shall be void and of no force or
effect. Any Stockholder effecting any such Sale or taking any such action shall indemnify the
Mamnany and each Stackhoalder for af] costs and aypannan ranuiting Hanwedanann

21, IANCE WITH NFL RULES: DENC. L POLICIE

(a) Notwithstanding any agreement to the contrary, this Agreement and any and all
other arrangements between or among the parties hereto or any entity that has
any interest, direct or indirect, in any party hereto which relates to the
ownership or operation of the Franchise as a member club of the NFL, are
subject to the Constitution, Bylaws and other rules and regulations of the NFL
(the “NFL Rules”) and to the Articles of Association and Bylaws of the NFL
Management Council, and certain decision, rulings, resolutions, actions and
other matters as more fully described in Paragraph 1 and other provisions of
that certain consent letter of the NFL dated as of the date of the closing of the
Acquisition and that certain other consent letter of the NFL executed in
connection with the sale of stock to Messrs. Smith, Schar and Rothman. This
Section 22(a) and any other provision hereof affecting the rights of the NFL may
not be amended, waived or otherwise adversely affected without the prior
written consent of the NFL, in its sole discretion, which such NFL is a third
party beneficlary of the covenant and agreement reflected in this Section 22(a),
The parties hereto will provide copies of any amendments to this Agreement to
the National Football League, 280 Park Avenue, New York, New York 10017,
Attn: League Counsel.

‘ -29-
05/11/2020 CABS REE GRRE IO EM, Pocument 9-24 Filed 11/1642 O13 BAQGe1 OF S7 p usruse

(b) Notwithstanding anything to the contrary set forth herein, no transfer of Stock shall
be made except in compliance with NFL Rules. In the event that any one or more of
the provisions contained in this Apreement, for any reason, conflicts with the consent
letter of the NFL referenced in paragraph (a), the Stockholders agree that such
provisions shall be restated to the extent necessary so as to eliminate such conflict
and still be as consistent as possible or practicable with the intent of the parties with
respect to such provisions.

(c) Notwithstanding any other provision of this Agreement, the consent of the holders of
a majority of the Voting Stock of the Company shall be required prior to the filing by
the Company of a petition for relief under Title 11 of the United States Code or any
similar provision of state law, or prior to taking any action to file a petition for relief
under Title 1] of the United States Code or any other similar provision of state law
on behalf of the Corporation.

22.___ ENTIRE AGREEMENT; AMENDMENTS: TERMINATION,
(a) This Agreement constitutes the entire agreement of the parties with respect to the
subject matter hereof.

(b) Neither this Agreement nor any provision hereof may be amended, modified,
changed, discharged or terminated except by an instrument in writing signed (i) by
the Company and approved by unanimous consent of the directors of the Company
and (ii) by (x) the holders of not less than seventy five percent (75%) of the
outstanding Stock and (y) each Founding Stockholder who is alive and not
permanently disabled, With respect to any Stockholder, such Stockholder shall cease
to be subject to the terms and conditions of this Agreement on the date on which such
Stockholder no longer owns any shares of Stock.

23, ___ COUN TS,

This Agreement may be executed in any number of counterparts, and each such counterpart
hereof shall be deemed to be an original instrument, but all such counterparts together shall constitute
but one agreement. '

24,____GENDER AND NUMBER.

For purposes of this Agreement, the singular shall include the plural, and the masculine
gender shall include the feminine and neuter genders, and vice versa, unless the context requires
otherwise.

25, IN

This Agreement shall be governed by, enforceable under, and construed in accordance with
the laws of the State of Maryland, without giving effect to the conflicts of law principles thereof,

BLI TO ACT OD FAI
Each Stockholder covenants and agrees that, with respect to any action to be taken by him

under or in connection with this Agreement, he shall at all times act in good faith,

-30-
o5¢1172020 CAF 39520 03290 FIM,,,.Pocument 9-24 Filed 11/16(20,; Bag@S2 Of 37 6 oszrus,

IN WITNESS WHEREOF, the undersigned Stockholders and, for purposes of Section 10 of
this Agreement, the spouse of each undersigned Stockholder has executed this Agreement as of the
day and year first above written,

WASHINGTON FOOTBALL, INC,
By:

 

Name. Daniel M. Snyder
Title: Chairman of the Board

STOCKHOLDERS:

 

Name: Daniel M. Snyder

Address: 21300 Redskin Park Drive
Ashbum, VA 20147

Facsimile: (301) 493-5165

 

Name: Arlette Snyder
Address:

 
  

Facsimile:

 

Name: Michele.D. Snyder
 Addresga:

 
  

Facsimile:

~3]-
Case 8:20-cv-03290-PJM, Document 9-24 Filed 11/46/20 -Rage 33 of 3%... --.

o5/ 114 2020 14:44 Black Diamond Management

SIGNATURE PAGE.TO AMENDED AND RESTATED STOCKHOLDERS AGREEMENT

. ADDITIONAL STOCKHOLDERS

 

Name: Dwight Schar

2 Ree
reine

 

_ Name: Frederick W. Smith
Address; Fed Ex Corporation
942 South Shady Grove
Memphis, TN 38120

Copy to: William T. Mays
Glankler Brown, PLLC
1700 One Commerce Square
Memphis, TN 38103

 

Name: Robert Rothman

te
05/11/2020 WARS Bee Oo ynGha Wanagenent Document 9-24 Filed 11/46k9as teOaR 34 Of 3% usar vse

; SPOUSES:

 

Name: Tanya Snyder
(spouse of Daniel M. Snyder)

w33u
05/11/2020

Case 8:20-cv-03290-PJM , Document 9-24 Filed 11/

14:45Black Diamond Management

EXHIBIT A

SCHEDULE OF STOCKHOLDERS*

Ale Os PAGE 35 of 37. Woe Woe

 

 

 

 

 

 

 

 

 

Number of Shares of Percentage Ownership
eof St older Stock Owned terest
Daniel M. Snyder 536.1433 shares of Voting Stock 40.459%
f 9
Arlette Snyder 85.9930 shares of Non-Voting Stock 6.489%
Michele D. Snyder 166.3328 shares of Non-Voting
Stock 12,552%
Dwight Schar 201.001 6shares of Non-Voting
Stock 15,168%
Frederick W. Smith 134.6688 shares of Non-Voting
Stock 11635
Robert Rothman 201.0016 shares of Non-Voting
Stock 15, 168%
TOTAL 1,325,1411 shareg of Stock 100%
‘9

 

 

 

 
os/11/2020 Case nFe0 6M 032 90-P JM. Document 9-24 Filed 11/16/2043 PAGE,36 Of 37 p ossvo37

EXHIBIT B

ADDENDUM AGREEMENT

Addendum Agreement made this day of , by and between
(“New Stockholder”) and
the New Stockholder’s spouse (if
appropriate), Washington Football, Inc., a Maryland corporation (“Company”), and the other
stockholders (“Stockholders”) of the Company, who are parties to that certain Second Amended and
Restated Stockholders Agreement dated as of March 31, 2005 (“Agreement”), between the Company
and the Stockholders, who agree as follows:

 

 

1, Introduction. The Company and the Stockholders and their respective spouses (if appropriate)
entered into the Agreement to impose certain restrictions and obligations upon themselves and all
shares of Stock of the Company. The New Stockholder is desirous of becoming a Stockholder of the
Company, The Company and the Stockholders have required in the Agreement that all persons being
offered Stock must enter into an Addendum Agreement binding the New Stockholder and the New
Stockholder’s spouse (if appropriate) to the Agreement to the same extent as if they were original
parties thereto, so as to promote the mutual interests of the Company, the Stockholders, and the New
Stockholder by imposing the same restrictions and obligations on the New Stockholder and the
shares of Stock to be acquired by him as were imposed upon the Stockholders under the Agreement,

2. Adoption of Agreement. In consideration of the mutual premises of the parties, and as a condition
of the purchase of Stock in the Company, the New Stockholder and his spouse (if appropriate)
acknowledge that he/they have read the Agreement. The New Stockholder (and his spouse, if
appropriate) hereby adopt, shall be bound by and shall have the benefit of all the terms and
conditions set out in the Agreement to the extent as if he was a “Stockholder” as defined in the
Agreement. This Addendum Agreement shall be attached to and become a part of the Agreement.

 

New Stockholder

 

Spouse of New Stockholder

B-2
ney radian ra iBe 8: :20-Cv-03290/P JM Document 9-24 Filed tRNAs & Page.37 Of 37. osreuse

Address for Notice:

 

 

 

Agreed to on behalf of the Stockholder and the Company pursuant to the Agreement.

 

 

ATTEST:
Washington Football, Inc.
(for itself and as Attorney-in-Fact for
the Stockholders)
By:
Secretary
Name:
Title:

 

B-3
